Case 3:15-cv-01104-WHO Document 55-8 Filed 09/28/15 Page 1 of 3




  EXHIBIT 8
                     Case 3:15-cv-01104-WHO
ford motor company california - Google Search                        Document 55-8    Filed 09/28/15 Page 2 of 3
                                                                                https://www.google.com/?gws_rd=ssl#q=ford+motor+company...



                    ford motor company california                                                                        Sign in



                    Web       News        Maps        Images       Shopping        More         Search tools



                    About 4,580,000 results (0.36 seconds)


                    Official Ford® Site - Ford.com
                    Ad www.ford.com/
                    Go to the Official Ford Site for Special Incentives & Offers Today.
                    Available EcoBoost® · MPG Savvy & Tech Smart · SYNC® Technology
                    Ford Motor Company has 4,021,581 followers on Google+
                    Build & Price - Ford Trucks - Ford SUVs - Fuel Efficiency


                    Ford Motor Company Careers - Ford is hiring in your area
                    Ad ford.findyourjob.net/
                    Online Application. Easy to Apply.
                    Full & Part-Time Jobs - Apply Online Here - Submit Your Application


                    Work with Us - Ford.com
                    corporate.ford.com/careers         Ford Motor Company
                    Learn about jobs available at Ford Motor Company. Find out about career paths, open
                    positions, and learning opportunities. Make something that moves you.
                    Ford Careers, Jobs at Ford - Professionals - Manufacturing - Careers | Ford.com


                    Career Opportunities for Students and Recent Grads | Ford ...
                    https://corporate.ford.com/.../students-and-recent-g...         Ford Motor Company
                    When you join Ford Motor Company, your journey begins. You become part of skilled
                    and motivated teams making inspired products that create a better world.


                    Ford Motor Company Official Global Corporate Homepage ...
                    corporate.ford.com/       Ford Motor Company
                    Engineers at the Ford Innovation and Research Center in Palo Alto, California, are at
                    work on a project that may offer new insights into urban mobility.


                    Ford Motor Company jobs in California - Indeed
                    www.indeed.com/q-Ford-Motor-Company-l-California-jobs....                 Indeed.com
                    Jobs 1 - 10 of 43 - 43 Ford Motor Company Jobs available in California on
                    Indeed.com. one search. all jobs.


                    Ford Motor Company Assembly Plant - Wikipedia, the free ...
                    https://en.wikipedia.org/.../Ford_Motor_Company_Assembly_...                Wikipedia
                    The Ford Richmond Plant, formally the Ford Motor Company Assembly Plant, in
                    Richmond, California, was the largest assembly plant to be built on the West ...
                    Built: 1930                        Architect: Albert Kahn
                    Location: Richmond, California     NRHP Reference #: 88000919


                    List of Ford factories - Wikipedia, the free encyclopedia
                    https://en.wikipedia.org/wiki/List_of_Ford_factories         Wikipedia
                    The following is a list of current and former facilities of Ford Motor Company for .....
                    Plant only operated one shift due to California Air Quality restrictions.


                    Ford Motor Company Jobs | Glassdoor
                    www.glassdoor.com/Job/Ford-Motor-Company-Jobs-E263.htm                      Glassdoor
                    Ford Motor Company – Palo Alto, CA. •Strong affinity for self-directed learning: if you
                    don't know something, you find out quickly - Previous experience with PCB ...


                    Ford Motor Company Jobs in Palo Alto, CA | Glassdoor
                    www.glassdoor.com › Jobs › Palo Alto          Glassdoor
                    Sep 20, 2015 - 25 Ford Motor Company jobs in Palo Alto, CA. Search job openings,
                    see if they fit - company salaries, reviews, and more posted by Ford Motor ...


                    ford motor company Jobs | Glassdoor
                    www.glassdoor.com/.../ford-motor-company-jobs-SRCH_KE0,...                   Glassdoor




1 of 2                                                                                                                      9/28/15, 2:19 PM
                     Case 3:15-cv-01104-WHO
ford motor company california - Google Search                      Document 55-8    Filed 09/28/15 Page 3 of 3
                                                                              https://www.google.com/?gws_rd=ssl#q=ford+motor+company...


                    Get the right ford motor company job with company ratings & salaries. 1580 open jobs
                    for ford motor company. Get hired! ... Ford Motor Company. Palo Alto, CA.


                    Ford Motor Company - Home
                    https://sjobs.brassring.com/TGWEbHost/home.aspx?PartnerId=25385...
                    The distance between you and an amazing career has never been shorter. Join the Ford
                    team today, and discover the benefits, rewards and development ...



                    Searches related to ford motor company california
                    general motors california   chevrolet california
                    ford parts california       dodge california
                    toyota california           gmc california
                    chrysler california         ford jobs california




                                            1 2 3 4 5 6 7 8 9 10                     Next




                      Dallas, TX - From your Internet address - Use precise location - Learn more

                    Help      Send feedback      Privacy       Terms




2 of 2                                                                                                                   9/28/15, 2:19 PM
